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                                          UNITED STATES DISTRICT COURT
                                          SOUTHERN DISTRICT OF FLORIDA
                                                CASE NO.: 1:14-cv-24245-RNS
  ISMAEL RODRIGUEZ DIAZ, et al.,
            Plaintiffs,
  v.
  AMERICAN SALES AND MANAGEMENT
  ORGANIZATION, LLC, a Florida limited
  liability company, EULEN AMERICA, INC.,
  and LIVAN ACOSTA,
        Defendants.
  _____________________________________________/

   DEFENDANTS’ REPLY TO PLAINTIFFS’ RESPONSE TO DEFENDANT’S MOTION
                              IN LIMINE

            COME NOW Defendants American Sales and Management Organization, LLC, Eulen

  America, Inc., and Livan Acosta, by and through the undersigned counsel, and hereby submit to

  the Court Defendants’ Reply to Plaintiffs’ Response [D.E. 107] to Defendants’ Motion in Limine

  and state as follows:

       I.   Subsequent Remedial Measures.

            Plaintiffs’ Response to Defendants’ Motion in Limine argues that Defendants’ stopping

  of terminating employees who refused to sign the company’s arbitration agreement was not a

  subsequent remedial measure, arguing that same is “not like a car manufacturer who makes their

  car safer after a products liability suit is filed.” See D.E. 107 page 4. Although subsequent

  remedial measures is more commonly thought of as an issue in tort cases, courts have applied

  Rule 407 in employment cases. See D.E. 93, pages 4-5; see also Abel v. Dep't. of Carr., 1995

  WL 106535 at 1 (D. Kan. Jan. 12, 1995) (FLSA case where court noted that evidence of changes

  the defendant employer made to its workplace rules with respect to roll calls and meal breaks

  were likely to be subsequent remedial measures under Rule 407, and their admissibility would

                                                    COLE, SCOTT & KISSANE, P.A.
             ESPERANTE BUILDING - 222 LAKEVIEW AVENUE, SUITE 120 - WEST PALM BEACH, FLORIDA 33401 (561) 383-9200 - (561) 683-8977 FAX
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  depend upon it being offered for some purpose other than showing the defendant's culpability).

  Applying Rule 407, courts have excluded “changes in rules and regulations, [and] changes in the

  practice of the business.” Stahl v. Bd. of County Com'rs of the Unified Gov't of Wynandotte

  County/Kansas City, Kan., 101 Fed. Appx. 316, 321 (10th Cir. 2004) (internal citations omitted).

  In this case, Defendants’ stopping of terminating employees who refused to sign the company’s

  arbitration agreement was a change in the company’s business practice and a subsequent

  remedial measure. Accordingly, Rule 407 is applicable in this case.

         Applying Rule 407, evidence of subsequent remedial measures is not admissible to prove

  culpable conduct. See Fed. R. Evid. 407. However, Plaintiffs’ Response acknowledges that they

  wish to offer evidence that Defendants stopped terminating employees who refused to sign the

  arbitration agreement for the purpose of attempting to show Defendants’ culpability in this case.

  See D.E. 107, page 4. Specifically, Plaintiffs wish to use such evidence “to show that only a

  small group of employees was targeted.” Id. However, under Rule 407, using such evidence for

  said purpose is impermissible. See Fed. R. Evid. 407. Therefore, such evidence should be

  excluded.

   II.   Defendants’ Actions With Other Employees After Plaintiffs’ Terminations Is
         Irrelevant.

         Plaintiffs’ Response further argues that evidence that Defendants stopped terminating

  employees who refused to sign the arbitration agreement should not be excluded because

  Defendants have made the argument that all employees were subject to the arbitration agreement,

  which puts Defendants’ actions with other employees at issue. See D.E. 107, page 3. Plaintiffs’

  argument in this regard fails because Defendants’ company-wide roll out of the arbitration

  agreement took place before Plaintiffs’ terminations, while Defendants’ stopping of terminating

  employees who refused to sign the company’s arbitration agreement took place after Plaintiffs’
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                                                 COLE, SCOTT & KISSANE, P.A.
          ESPERANTE BUILDING - 222 LAKEVIEW AVENUE, SUITE 120 - WEST PALM BEACH, FLORIDA 33401 (561) 383-9200 - (561) 683-8977 FAX
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  terminations. Any matters after Plaintiffs’ terminations such as any corporate decisions made by

  Defendants regarding actions to take or not to take in connection with other employees are

  wholly irrelevant to Plaintiffs’ retaliation claim. See generally Ostrow v. GlobeCast Am. Inc.,

  2011 WL 4971974, at 3 (S.D. Fla. 2011).

  III.   Evidence Regarding The Palmer Case Is Inadmissible “Me Too” Evidence.

         Plaintiffs’ seek to address in trial the Palmer v. American Sales and Management et al.,

  case, 1:13-cv-23053, a wage and hour matter involving two Defendants in this case and

  individuals other than the Plaintiffs in the above-captioned case. See D.E. 107, pages 5-6.

  Evidence regarding the Palmer case is not relevant to any of the issues before the Court in this

  matter and should be excluded. See Jackson v. United Parcel Serv., Inc., 593 Fed. Appx. 871,

  877 (11th Cir. 2014) (holding that “me too” evidence that the defendant was aware of EEOC

  complaints filed by a different employee was not relevant to the plaintiff’s claims of

  discrimination).

         Even when “me too” evidence is relevant under Rule 401, the district court retains the

  discretion to exclude that evidence, under Rule 403, if it is unduly prejudicial, confusing,

  misleading, or cumulative. Adams v. Austal, U.S.A., L.L.C., 754 F.3d 1240, 1258 (11th Cir.

  2014). The admission of me too evidence in this case would only serve to confuse the issues and

  mislead the jury, and should therefore be excluded.

                                                                Respectfully submitted,

                                                                COLE, SCOTT & KISSANE, P.A.
                                                                Attorneys for Defendants
                                                                Esperante Building
                                                                222 Lakeview Avenue, Suite 120
                                                                Telephone: 561-383-9236
                                                                Facsimile: 561-683-8988
                                                                By: /s/ Alison Thomas_________
                                                                     NICOLE WALL
                                                                 -3-
                                                 COLE, SCOTT & KISSANE, P.A.
          ESPERANTE BUILDING - 222 LAKEVIEW AVENUE, SUITE 120 - WEST PALM BEACH, FLORIDA 33401 (561) 383-9200 - (561) 683-8977 FAX
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                                                                              FBN: 17430
                                                                              E-Mail: nicole.wall@csklegal.com
                                                                              ALISON THOMAS
                                                                              FBN: 102879
                                                                              E-Mail: alison.thomas@csklegal.com

                                                   CERTIFICATE OF SERVICE
             WE HEREBY CERTIFY that on this 12th day of October, 2015, we electronically filed

  the foregoing document with the Clerk of Court using CM/ECF. We also certify that the

  foregoing document is being served this day on all counsel of record or pro se parties identified

  on the Service List below in the manner specified, either via transmission of Notices of

  Electronic Filing generated by CM/ECF or in some other authorized manner for those counsel or

  parties who are not authorized to receive electronically Notices of Electronic Filing.

                                                                       By: /s/ Alison Thomas_______________
                                                                            ALISON THOMAS
                                                                            FBN: 102879
                                                                            E-Mail: alison.thomas@csklegal.com

  SERVICE LIST
  J.H. Zidell, Esq.
  J.H. Zidell, P.A.
  Attorneys for Plaintiffs
  300 71st Street
  Suite 605
  Miami Beach, FL 33141
  Zabogado@aol.com
  VIA CM/ECF
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                                                       COLE, SCOTT & KISSANE, P.A.
               ESPERANTE BUILDING - 222 LAKEVIEW AVENUE, SUITE 120 - WEST PALM BEACH, FLORIDA 33401 (561) 383-9200 - (561) 683-8977 FAX
